15 F.3d 186
    304 U.S.App.D.C. 367
    ACTION FOR CHILDREN'S TELEVISION, et al., Petitioners,v.FEDERAL COMMUNICATIONS COMMISSION, United States of America,Respondents.
    Nos. 93-1092, 93-1100.
    United States Court of Appeals,District of Columbia Circuit.
    Feb. 16, 1994.
    
      Before:  MIKVA, Chief Judge;  WALD, EDWARDS, SILBERMAN, BUCKLEY, WILLIAMS, GINSBURG, SENTELLE, HENDERSON, and RANDOLPH, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Respondents' Suggestion For Rehearing In Banc and the response thereto have been circulated to the full court.  The taking of a vote was requested.  Thereafter, a majority of the judges of the court in regular, active service voted in favor of the suggestion.  Upon consideration of the foregoing, it is
    
    
      2
      ORDERED, by the Court in banc, that the suggestion is granted and these cases will be reheard by the court sitting in banc.   It is
    
    
      3
      FURTHER ORDERED, by the court in banc, that the judgment filed herein on November 23, 1993 be, 11 F.3d 170, and the same hereby is, vacated.
    
    
      4
      A future order will govern further proceedings.
    
    